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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
JANE DOE 1,                       *
                                  *
     Plaintiff,                   *                        Civil Action No.
v.                                *                        1:19-cv-03840-WMR
                                  *
RED ROOF INNS, INC.;              *                        JURY TRIAL
RED ROOF FRANCHISING, LLC;        *                        DEMANDED
RRI III, LLC;                     *
RRI WEST MANAGEMENT, LLC;         *
FMW RRI NC, LLC;                  *
SUB-SU HOTEL GP, LLC              *
WESTMONT HOSPITALITY GROUP, INC.; *
WHG SU ATLANTA LP;                *
WHG SU ATLANTA, LLC;              *
KUZZINS BUFORD, INC.;             *
VARAHI HOTEL, LLC;                *
CC&S DEVELOPMENT, LLC;            *
ESSEX, LLC; and                   *
HSI CHAMBLEE, LLC,                *
                                  *
     Defendants.                  *

                 DEFENDANT RED ROOF INNS, INC.’S
            AMENDED CERTIFICATE OF INTERESTED PERSONS
              AND CORPORATE DISCLOSURE STATEMENT
      Defendant Red Roof Inns, Inc. hereby submits this Amended Certificate of

Interested Persons and Corporate Disclosure Statement pursuant to Rule 7.1 of the

Federal Rules of Civil Procedure and Local Rule 3.3:

      (1)     The undersigned counsel of record for Red Roof Inns, Inc. certifies that

the following is a full and complete list of all parties in this action, including any
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parent corporation and any publicly held corporation that owns 10% or more of the

stock of a party:

                   a. Plaintiff Jane Doe 1

                   b. Defendant Red Roof Franchising, LLC

                   c. Defendant RRI West Management, LLC

                   d. Defendant WHG SU Atlanta, LLC

                   e. Defendant Red Roof Inns, Inc.: Red Roof Inns, Inc. is a non-

                      governmental corporate party. WRRH Investments LP is the parent

                      corporation, and no publicly held corporation owns more than 10% of

                      the stock of Red Roof Inns, Inc.

                   f. Defendant RRI III, LLC

                   g. Defendant FMW RRI NC, LLC

                   h. Defendant Westmont Hospitality Group, Inc.

                   i. Defendant WHG SU Atlanta, LP

                   j. Defendant SUB-SU HOTEL GP, LLC

                   k. Defendant Varahi Hotel, LLC

                   l. Defendant CC&S Development, LLC

                   m. Defendant Essex, LLC

                   n. Defendant HSI Chamblee, LLC




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         (2)       The undersigned certifies that the following is a full and complete list of

all other persons, associations, firms, partnerships, or corporations having either a

financial interest in or other interest which could be substantially affected by the

outcome of this particular case:

         WRRH Investments LP

         (3)       The following is a complete list of all persons serving as attorneys for

Red Roof Inns, Inc.:

                   a. Charles K. Reed
                      Michael Freed
                      Adi Allushi
                      LEWIS BRISBOIS BISGAARD
                      & SMITH LLP
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         Respectfully submitted this 31st day of July, 2020.


                                                    /s/ Adi Allushi
                                                    CHARLES K. REED
                                                    Georgia Bar No. 597597
                                                    P. MICHAEL FREED
                                                    Georgia Bar No. 061128
                                                    ADI ALLUSHI
                                                    Georgia Bar No. 852810

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  & SMITH LLP                                       Red Roof Inns, Inc.;
1180 Peachtree Street NE                            Red Roof Franchising, LLC
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Atlanta, Georgia 30309                              RRI West Management, LLC;
(404) 348-8585                                      FMW RRI NC, LLC;
(404) 467-8845 Facsimile                            SUB-SU Hotel GP, LLC;
Chuck.Reed@lewisbrisbois.com                        Westmont Hospitality Group, Inc.;
Michael.Freed@lewisbrisbois.com                     WHG SU Atlanta LP; and
Adi.Allushi@lewisbrisbois.com                       WHG SU Atlanta, LLC




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                   RULE 7.1D CERTIFICATE OF COMPLIANCE

         Pursuant to Local Rule 7.1D of the United States District Court of the

Northern District of Georgia, the undersigned certifies that the foregoing

submission to the Court was computer-processed, double-spaced between lines,

and used Times New Roman font of 14 point size.


Dated: July 31, 2020.


                                                     /s/ Adi Allushi
                                                     ADI ALLUSHI




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                           CERTIFICATE OF SERVICE
         I hereby certify that I have this 31st day of July, 2020 filed the within and

foregoing Defendant Red Roof Inns, Inc.’s Amended Certificate Of Interested

Persons And Corporate Disclosure Statement via electronic mail to all counsel of

records as follows:

John E. Floyd                                  Joseph Robb Cruser
Manoj S. Varghese                              Kristin L. Yoder
Tiana S. Mykkeltvedt                           Glenn C. Tornillo
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Management, LLC (misnamed as                rachel.mathews@swiftcurrie.com
Essex, LLC)                                 Sabrina.atkins@swiftcurrie.com
                                            Attorneys for HSI Chamblee, LLC


         This 31st day of July, 2020.


                                                /s/ Adi Allushi
                                                CHARLES K. REED
                                                Georgia Bar No. 597597
                                                P. MICHAEL FREED
                                                Georgia Bar No. 061128
                                                ADI ALLUSHI
                                                Georgia Bar No. 852810

LEWIS BRISBOIS BISGAARD                         Attorneys for Defendants
  & SMITH LLP                                   Red Roof Inns, Inc.;
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